     Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 1 of 8 PageID #:3148




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Chicago Police Officers SHANNON                       )
SPALDING and DANIEL ECHEVERRIA,                       )
                                                      )
Plaintiffs,                                           )
                                                      )
v.                                                    )      Case No. 12-cv-8777
                                                      )
CITY OF CHICAGO, Chicago Police Chief                 )      Judge Gary Feinerman
JUAN RIVERA, Chicago Police Chief                     )
JAMES O’GRADY, Chicago Police Chief                   )
NICHOLAS ROTI, Chicago Police Lt.                     )
Sergeant MAURICE BARNES, Chicago Police               )
Lt. ROBERT CESARIO, Chicago Police                    )
Commander JOSEPH SALEMME, Chicago                     )
Police Sergeant THOMAS MILLS,                         )
                                                      )
Defendants.                                           )


 PLAINTIFFS’ RESPONSE MEMORANUDM TO DEFENDANT CITY’S MOTION TO
  BIFURCATE PLAINTIFFS’ MONELL CLAIM AGAINST THE CITY OF CHICAGO
        On May 16, 2016, two weeks before the scheduled trial date in this matter, Defendant

City filed a Rule 42(b) Motion seeking to bifurcate Plaintiffs’ Monell claim against it, stay the

trial on this claim and enter the City’s proposed “Consent to Entry of Judgment Against

Defendant City of Chicago.” Both fact and expert discovery have long been completed,

including discovery on Plaintiffs’ claims against the individual Defendants and their Monell

claims against the City. In addition, the parties have engaged in extensive briefing on the

Defendants’ Motion for Summary Judgment and the Court has ruled that there is sufficient

evidence to allow the Monell claim to be tried. The Court has ruled on eighteen Motions in

Limine and the case is set to begin a jury trial on May 31. At this late date, the Defendant City

offers to enter into a Limited Consent to Entry of Judgment against Defendant City of Chicago.

(DKT. 243, Exhibit A.) Specifically, the City “without admitting Plaintiff’s Monell allegations

                                                 1
     Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 2 of 8 PageID #:3149




in the SAC and the Final Pretrial Order, consents to the entry of judgment against the City for

compensable damages and to the extent allowed by the Court, reasonable attorney’s fees

pursuant to 42 U.S.C.§1988, if and only if the finder of fact in this case finds that any of the

Individual Defendants… is liable to Plaintiffs for a violation of Plaintiffs’ constitutional rights.”

         Plaintiffs oppose this motion because, rather than promote efficiency and economy, it

will result in duplicative litigation and cause additional unnecessary expense to both parties.

More importantly, it also undermines the Plaintiffs’ ability to seek redress for the constitutional

deprivation they have suffered as a result of the Chicago Police Department’s adherence to a

code of silence.

    I.   Bifurcation Will Not Promote Efficiency or Economy

         Unlike virtually every case cited in support of bifurcation in Defendants’ Memorandum,1

this case is set for trial in a little over a week. In fact, the trial date was set nearly a year ago,

July 23, 2015. (Dkt. 136) The pretrial conference has been held and the Motions in Limine have

been ruled upon. Any economies that might have been achieved had bifurcation and a stay of

discovery been sought earlier by the Defendants are thus lost. Both parties have identified

witnesses, including expert witnesses, who have long been scheduled to testify on the scheduled

trial date. Plaintiffs have been unable to locate an instance where a Court in this District has

granted bifurcation of the Monell claim at this stage in the litigation. There is good reason for

this because if the Court were to grant the motion, the goals of Rule 42 will be thwarted and the

result will be duplicative litigation and additional expense. Plaintiffs will be forced to put on




1
 Kiitchen v. Burge, No. 10-4093)(attached to Defendants’ Memorandum,); Taylor v. Kachiroubas, 2013 WL
6050492 (N.D. Il. 2013)Ojeda v. Beltran, 2008 WL 2782815 (N.D. Il. 2008) Moore v. Smith, 07-5908 (N.D. Il.
2008) Ramirez v. City, (05-317) (N.D. Il. (Attached to memo)Nix v. City, Cruz v. City of Chicago, 2008 WL
5244616 (N.D. Il. 2008) all involved motions by the City to stay Monell discovery as well as bifurcate Monell
claims which were brought early on in the litigation.

                                                        2
   Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 3 of 8 PageID #:3150




evidence as to the code of silence twice: Once in the trial of the individual Defendants and again,

in in the trial of the Monell claim. On the other hand should the City’s motion be denied, it is

unlikely that the Monell testimony in this case will take more than a day. The money has been

spent as has the time and effort in discovery. In short, bifurcation, at this stage of the litigation,

would not be expeditious.

        Defendant City’s primary motivation in filing this motion is revealed in the recitation of

Plaintiffs’ evidence that Defendant has unsuccessfully sought to exclude as prejudicial, including

the testimony of Mayor Rahm Emanuel, the Mayor’s Police Accountability Task Force Report,

the testimony of Lou Reiter regarding the code of silence, alleged threats or retaliation against

Plaintiffs by Ronald Watts, and the testimony of Michael Spaargaren (See Defendant’s

Memorandum at page 6). The relevance and admissibility of this evidence has already been ruled

on by this Court. Defendants are not simply attempting to “limit costs,” but to prejudice

Plaintiffs in attempting to prove their case.

        The City has chosen, as is its right, to vigorously defend against these claims over the

course of this litigation. It is inherently unfair, to allow the City to now remove the Monell claim

as a strategy to avoid exposure or suppress allegedly prejudicial evidence.

 II.    Plaintiffs will be Prejudiced if the City is Allowed to Dodge Responsibility for
        Creating a Code of Silence that Caused Plaintiffs’ Constitutional Harm

        Plaintiffs contend and the Court has acknowledged in its recent rulings on the parties’

Motions in Limine that the City’s code of silence is at the heart of this case. In fact, it is the code

of silence that is the chief cause of Plaintiffs’ constitutional deprivations. Plaintiffs broke the

code when they went to the FBI in 2007 to complain about their corrupt fellow police officers.

For that, they have suffered a barrage of retaliation from supervisors in the Chicago Police

Department which has ended the career of Plaintiff Spalding and severely impacted the career of


                                                   3
   Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 4 of 8 PageID #:3151




Daniel Echeverria. While Plaintiffs have ample evidence that the individual Defendants were

motivated by retaliatory animus, it is Plaintiffs’ contention that the code of silence fostered that

retaliatory animus and made it more likely than not that the individual Defendants acted in

conformance with the City’s unwritten code. In an attempt to shield itself from public scrutiny,

the City offers to pay the bill for the individual Defendants should they be held liable and

thereby dodge responsibility for their unconstitutional policies should there be a finding in the

individual Defendants’ favor.

       The City is attempting to sidestep the long established principle that a plaintiff may sue a

municipality for independent, non-derivative liability based on the municipality’s

unconstitutional policies and practices See, Owen v. City of Independence,, 445 U.S. 622 (1980)

Defendant City argues that if the individual Defendants are found not liable to Plaintiffs for any

constitutional violation, there is no basis on which to impose liability on the City pursuant to

Monell, citing Treece v. Hochstetler 213 F.3d 360, 364 (7th Cir. 2000)(See Defendant City’s

Memorandum at page 10) Plaintiffs disagree. The Seventh Circuit has recognized that “a

municipality can be held liable under Monell, even when its officers are not, unless such a

finding would create an inconsistent verdict.” Thomas v. Cook Cnty. Sheriff's Dep't, 604 F.3d

293, 305 (7th Cir. 2010). The Seventh Circuit reiterated in Swanigan v. City of Chicago, 775 F.

3d 953, 962 (cited in Defendant’s Memorandum at p. 4) that in some civil rights cases, a verdict

in favor of individual defendants would not foreclose a Monell claim. For example, in some

cases, plaintiffs might want to pursue equitable relief against the municipality:




       In some civil-rights case… a verdict in favor of individual defendants would not
       necessarily be inconsistent with a plaintiff’s verdict on a factually distinct Monell


                                                  4
   Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 5 of 8 PageID #:3152




       claim… In still other cases, the plaintiff may want an injunction against future
       constitutional violations or some other equitable remedy, and he may be willing to
       invest the time and effort needed to prove his entitlement to that relief. In such
       cases the plaintiff is entitled to try to prove his Monell claim. Id at 962

       The bottom line is that it is not inconsistent for the City to be held liable for its

unconstitutional policies, i.e, fostering and maintaining a code of silence within the Chicago

Police Department even if the jury is unable to determine which, if any of the individual

Defendants or other members of the Department are responsible for the retaliatory conduct

which has occurred. The jury should be allowed to find that the City itself is the culpable

Defendant regardless of what it finds with respect to the individual officers. Plaintiffs are

harmed by the unconstitutional policy itself, whether or not the individual Defendants are liable.

See also, Obrycka v. City of Chicago, 2012 WL 601810 *11 (“Obrycka’s theory of municipal

liability based on the alleged widespread practice of concealing or suppressing investigations

into police officer misconduct is not dependent on (the individual defendant’s) violating her

constitutional rights…”) (But see, Fuery v. City of Chicago, 2015 WL 715281, *2) See also,

Obrycka v. City of Chicago 2012 WL 601810 *11

       Plaintiffs herein allege that the pervasive code of silence not only fostered and allowed

the individual Defendants to retaliate against Plaintiffs but that it independently created a toxic

and threatening atmosphere for any officer who was confronted with the wrong doings of fellow

officers. Plaintiffs contend that whether or not they are able to sustain claims against the

individual Defendants, the City can be found liable under Monell for the creation of an untenable

and threatening employment environment that thwarts open disclosure of wrong doing. The fact

that Plaintiffs are employees of the CPD and therefore at all times subject to the unconstitutional

policy of a code of silence, distinguishes this case from police misconduct claims brought by

ordinary citizens. Plaintiffs have a special interest in working in an environment, which is free


                                                  5
   Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 6 of 8 PageID #:3153




from the threat of unconstitutional retaliatory conduct when employees break the code. It would

not be inconsistent for a jury to find insufficient evidence of retaliatory acts by the individual

Defendants but to find that the City created an actionable hostile environment for officers

confronted with blatant corruption and wrongdoings by fellow officers. It is appropriate and in

the public interest for these Plaintiffs to seek to remedy this unconstitutional conduct by their

employer, the City of Chicago.

       The City, through its proposed unilateral certification, seeks to hide its unconstitutional

practices and remove itself as principal wrongdoer from the courtroom, robbing the Plaintiffs of

the moral force of their evidence. The principle that the Plaintiffs are the masters of their

complaint is firmly established. See .e.g., Homes Group, Inc. v. Vornado Air Circulation

systems, Inc. 535 U.S. 826, 831 (2002); Garbie v. Dailmler Chrysler Corp. 211 F. 3d 407, 410

(7th Cir. 2000.) This Court has ruled that Plaintiffs have stated a legally sufficient Monell claim.

They should be allowed to reject the Defendant’s Consent to an element of their case and to tell

their own story. Plaintiffs are not claiming only that individual supervisors had it out for them

because they saw them as rats. Plaintiffs are claiming that these individual Defendants were

acting pursuant to an unconstitutional code of silence within the Chicago Police Department

when they retaliated against them and that the code of silence created an atmosphere of fear and

intimidation.

III.   Failure to Bifurcate will not be Prejudicial to Defendants

        Defendants argue that bifurcation of the Monell claim “protects the individual

Defendants and the City from possible prejudice caused by the introduction at trial of extensive

evidence relating to individuals with no involvement in this case.” (Defendants Memorandum at

page 5) However, that argument ignores the measures that a court may take to limit the possible



                                                  6
   Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 7 of 8 PageID #:3154




prejudice. As the District Court stated in Medina v. City of Chicago, 100 F. Supp. 2d 893 (N.D.

Il. 2000) where the city sought bifurcation on similar grounds as it seeks here:

         Though the Court is cognizant of the possibility of prejudice to the individual
        officers if the claims are tried together, our system generally trusts jurors to
        understand and follow limiting instructions regarding consideration of evidence
        against some defendants and not others—even in criminal cases, where a person's
        liberty is at stake. Id at 897. See also, King v. Evans, 2015 WL 4397761 *3 (N.D.
        Il. 2015) (“Any potential for unfair prejudice to individual officers from litigating
        the Monell claim with the individual claims… can be addressed adequately at trial
        as necessary through motions in limine and limiting instructions for the jury.” Elrod
        v. City, 2007 WL 3241352 *7 (N.D. Il. 2007),( the prejudice argument advanced
        by the City “could, in theory, apply to virtually every case that involved both
        individual liability and Monell policy claims, because the nature of a Monell claim
        requires evidence that goes beyond the actions of the individual defendant…
        Generally, the issue of avoiding prejudice at trial is better addressed by application
        of the Rules of Evidence, rulings in limine and limiting instructions. This argument
        is not, in itself, a persuasive reason for bifurcation.”

IV.     Conclusion

        It is too late in the day for the City to reap the benefits of the economies it allegedly

seeks. Discovery is complete, the pretrial order has been filed, the extensive motions in limine

resolved and the matter is set for trial on May 31. Bifurcation of the Monell claim will only

increase the expense to the parties and will not expedite a resolution of this case. Furthermore,

there is a societal interest in allowing the Plaintiffs to seek redress of the deprivation of their

Constitutional rights by the City. Eliminating the code of silence in the Chicago Police

Department is a matter of public interest not just for the Plaintiffs, but for the citizens of the City

of Chicago.




                                Respectfully submitted,

                                /s/ Miriam N. Geraghty



                                                   7
   Case: 1:12-cv-08777 Document #: 257 Filed: 05/23/16 Page 8 of 8 PageID #:3155




Miriam N. Geraghty
Jeffrey L. Taren
Kinoy Taren & Geraghty, P.C.
224 S. Michigan, Suite 490
Chicago, Illinois 60604
Phone: (312) 663-5210
Fax: (312) 663-6663
mgeraghty@ktglawyer.com
jtaren@ktglawyer.com

Christopher R. Smith
Christopher Smith Trial Group
1 North LaSalle St., Ste. 2000
Chicago, Illinois 60602
Phone: (312) 432-0400
Fax: (312) 850-2704
chris@crstrialgroup.com




                                         8
